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6/IROL) Waiver of Prelimtine, Hearing

UNITED STATES DISTRICT COURT

WESTERN DISTRICT OF TEXAS
SAN ANTONIO DIVISION
USA §
vs. i NO: SA:17-CR-00965(2)-OLG
(2) Jessica Lynn McKown :

WAIVER OF PRELIMINARY HEARING

 

L understand that I have been charged with an offense in a criminal complaint filed in
this court, or charged with violating the terms of probation or supervised release in a petition
filed in this court. A magistrate judge has informed me of my right to a preliminary hearing
under Fed. R. Crim. P.5, or to a preliminary hearing under Fed. R. Crim. P. 32.1.

| agree to waive my right to a preliminary hearing under Fed, R. Crim. P.5 or Fed. R.
Crim. P,,32.1.

  

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Date | i Signature of Atataes for Defendant

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